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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


 In re:
                                                                 Chapter 7 (Involuntary)
 PARK PLACE DEVELOPMENT PRIMARY,
                                                                 Case No. 21-10849 (CSS)
 LLC

                            Alleged Debtor.


          DECLARATION OF AHMAD HAMDI BIN ABDULLAH IN IN SUPPORT
             OF THE MOTION OF MALAYAN BANK FOR ENTRY OF AN
              ORDER DISMISSING THE INVOLUNTARY PETITION OR,
            IN THE ALTERNATIVE, GRANTING CERTAIN OTHER RELIEF

      I, Ahmad Hamdi Bin Abdullah, hereby declare as follows:

          1.   I am the General Manager of the Malayan Banking Berhad, New York Branch

(“Malayan”).

          2.   Malayan is the Administrative Agent (the “Administrative Agent”), under the

Building Facility and Project Facility (together the “Facility”). The lenders under the Facility are

Malayan Banking Berhad, London Branch, Intesa Sanpaolo S.P.A., New York Branch, Warba Bank

K.S.C.P., and 45 Park Place Investments, LLC (collectively, the “Lenders”).

          3.   I submit this declaration in support of the Motion for Entry of an Order Dismissing

the Involuntary Petition Pursuant to 11 U.S.C. 707(A) and 305(A) or, in the Alternative, for Relief

from The Automatic Stay (the “Motion”).

          4.   I am over the age of 18, competent to testify, and authorized to submit this

Declaration on behalf of the Lenders. If I were called to testify as a witness in this matter, I could

and would competently testify to each of the facts set forth herein to the best of my knowledge.
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        5.       As of June 1, 2021, the amount of principal, interest, other charges owed by Alleged

Debtor to the Lenders is $130,856,015.18 (the “Loan Balance”), which includes, among other

things, the Protective Advances (defined below) and the costs and expenses associated with the

Mortgage Foreclosure Action.1 Attached hereto as Exhibit A is a statement setting forth the Loan

Balance.

        6.       Given that the Alleged Debtor has no other assets and the Project is not generating

any income in its current state, and despite requests from the Receiver and the Lenders that the

Alleged Debtor make the payments, the Receiver has had to rely on Protective Advances from the

Lenders. Those Protective Advances have been used to pay for insurance premiums at the

Property, security for the Property, and to pay certain amounts owed to the New York City taxing

authorities to have the Property removed from the tax lien sale list. As of June 1, 2021, the Lenders

have provided $1,076,863.05 in Protective Advances (the “Protective Advances”). The Lenders

anticipate needing to provide additional Protective Advances over the next six months in the

amount of $689,359.81. Attached hereto as Exhibit B is a statement setting forth the Protective

Advances provided as of June 1, 2021. Attached hereto as Exhibit C is a statement setting forth

the Protective Advances the Lenders anticipate needing to provide over the next six months.

        7.       For purposes of compliance with Del. Bankr. L.R. 4001-1(c)(i)(A) set forth below

is a breakdown of the following categories and each of their respective amounts:

                 a.       Unpaid principal of $95,931,713.26 for the Building Loan and

$11,887,103.83 for the Project Loan for a total of $107,818,817.09.




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    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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                 b.     Accrued and unpaid interest of $14,668,691.79 for the Building Loan and

$1,817,954.88 for the Project Loan from April 26, 2016 to June 1, 2021 for a total of

$16,486,646.67.

                 c.     Unpaid late charges of $1,106,004.05 for the Building loan and

$142,763.80 for the Project Loan from April 26, 2016 to June 1, 2021 for a total of

$1,248,767.85.

                 d.     Attorney’s fees of $1,684,916.22 in connection with the state court action

to enforce the terms of the Facility Agreements and foreclose upon the mortgages executed in

connection therewith following the borrower’s defaults under the Facility Agreements, and

obtain other related relief.

                 e.     Advances for taxes and insurance include $41,341.55 for property taxes

and $789,105.09 for insurance AFCO Insurance, Lockton Insurance, Builders Insurance, and

General Liability Insurance for a total of $830,446.64.

                 f.     There is no unearned interest.

                 g.     Other charges include $4,627.20 for title searches, $243,779.19 for

security services, $2,640.22 for fire protection and security, and $65,730.00 for CBRE Due

Diligence for a total of $316,776.61.

                 h.     Per diem interest factor of $24,507.28.

        8.       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge and belief.
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Executed on: July 7, 2021




                                        By:

                                        _________________________________
                                        Ahmad Hamdi Bin Abdullah
                                        General Manager
                                        Malayan Banking Berhad, New York Branch
